          Case 2:22-cv-03666 Document 1 Filed 05/27/22 Page 1 of 10 Page ID #:1



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 6
 7
                                UNITED STATES DISTRICT COURT
 8
                               CENTRAL DISTRICT OF CALIFORNIA
 9
10                                              Case No.:
     SAM BENFORD,
11                Plaintiff,                    COMPLAINT FOR INJUNCTIVE
                                                RELIEF AND DAMAGES FOR DENIAL
12         vs.                                  OF CIVIL RIGHTS OF A DISABLED
                                                PERSON IN VIOLATIONS OF
13
                                                1. AMERICANS WITH DISABILITIES;
14
     PIER AVENUE LLC; and DOES 1 to 10,         2. CALIFORNIA’S UNRUH CIVIL
15                                              RIGHTS ACT;
                  Defendants.
16                                              3. CALIFORNIA’S DISABLED
                                                PERSONS ACT;
17
                                                4. CALIFORNIA HEALTH & SAFETY
18                                              CODE;
19                                              5. NEGLIGENCE
20
21
22
23
24         Plaintiff SAM BENFORD (“Plaintiff”) complains of Defendants PIER AVENUE

25   LLC; and DOES 1 to 10 (“Defendants”) and alleges as follows:

26   //

27   //

28   //



                                        COMPLAINT - 1
         Case 2:22-cv-03666 Document 1 Filed 05/27/22 Page 2 of 10 Page ID #:2




 1                                             PARTIES
 2           1.   Plaintiff is a California resident with a physical disability. Plaintiff is
 3   hemiplegic due to stroke, and requires the use of a wheelchair at all times when traveling
 4   in public.
 5           2.   Defendants are, or were at the time of the incident, the real property owners,
 6   business operators, lessors and/or lessees of the real property for a gift shop (“Business”)
 7   located at or about 238 Pier Ave., Hermosa Beach, California.
 8           3.   The true names and capacities, whether individual, corporate, associate or
 9   otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
10   who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
11   Court to amend this Complaint when the true names and capacities have been
12   ascertained. Plaintiff is informed and believes and, based thereon, alleges that each such
13   fictitiously named Defendants are responsible in some manner, and therefore, liable to
14   Plaintiff for the acts herein alleged.
15           4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
16   times, each of the Defendants was the agent, employee, or alter-ego of each of the other
17   Defendants, and/or was acting in concert with each of the other Defendants, and in doing
18   the things alleged herein was acting with the knowledge and consent of the other
19   Defendants and within the course and scope of such agency or employment relationship.
20           5.   Whenever and wherever reference is made in this Complaint to any act or
21   failure to act by a defendant or Defendants, such allegations and references shall also be
22   deemed to mean the acts and failures to act of each Defendant acting individually, jointly
23   and severally.
24                                 JURISDICTION AND VENUE
25           6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
26   1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
27   seq.)
28




                                              COMPLAINT - 2
         Case 2:22-cv-03666 Document 1 Filed 05/27/22 Page 3 of 10 Page ID #:3




 1         7.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 2   arising from the same nucleus of operating facts, are also brought under California law,
 3   including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 4   54, 54., 54.3 and 55.
 5         8.     Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.
 6         9.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 7   property which is the subject of this action is located in this district, Los Angeles County,
 8   California, and Plaintiff’s causes of actions arose in this district.
 9                                  FACTUAL ALLEGATIONS
10         10.    In or about March of 2022, Plaintiff went to the Business.
11         11.    The Business is a gift shop business establishment, open to the public, and is
12   a place of public accommodation that affects commerce through its operation.
13         12.    While attempting to enter the Business during each visit, Plaintiff personally
14   encountered a number of barriers that interfered with his ability to use and enjoy the
15   goods, services, privileges, and accommodations offered at the Business.
16         13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
17   included, but were not limited to, the following:
18                a.     Defendants failed to comply with the federal and state standards for
19                       the parking space designated for persons with disabilities. Defendants
20                       failed to maintain the facility to be readily accessible.
21         14.    These barriers and conditions denied Plaintiff the full and equal access to the
22   Business and caused him difficulty and frustration. Plaintiff wishes to patronize the
23   Business, however, Plaintiff is deterred from visiting the Business because his knowledge
24   of these violations prevents him from returning until the barriers are removed.
25         15.    Based on the violations, Plaintiff alleges, on information and belief, that
26   there are additional barriers to accessibility at the Business after further site inspection.
27   Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
28   Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).



                                             COMPLAINT - 3
         Case 2:22-cv-03666 Document 1 Filed 05/27/22 Page 4 of 10 Page ID #:4




 1         16.    In addition, Plaintiff alleges, on information and belief, that Defendants
 2   knew that particular barriers render the Business inaccessible, violate state and federal
 3   law, and interfere with access for the physically disabled.
 4         17.    At all relevant times, Defendants had and still have control and dominion
 5   over the conditions at this location and had and still have the financial resources to
 6   remove these barriers without much difficulty or expenses to make the Business
 7   accessible to the physically disabled in compliance with ADDAG and Title 24
 8   regulations. Defendants have not removed such barriers and have not modified the
 9   Business to conform to accessibility regulations.
10                                   FIRST CAUSE OF ACTION
11       VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
12         18.    Plaintiff incorporates by reference each of the allegations in all prior
13   paragraphs in this complaint.
14         19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
15   shall be discriminated against on the basis of disability in the full and equal enjoyment of
16   the goods, services, facilities, privileges, advantages, or accommodations of any place of
17   public accommodation by any person who owns, leases, or leases to, or operates a place
18   of public accommodation. See 42 U.S.C. § 12182(a).
19         20.    Discrimination, inter alia, includes:
20                a.     A failure to make reasonable modification in policies, practices, or
21                       procedures, when such modifications are necessary to afford such
22                       goods, services, facilities, privileges, advantages, or accommodations
23                       to individuals with disabilities, unless the entity can demonstrate that
24                       making such modifications would fundamentally alter the nature of
25                       such goods, services, facilities, privileges, advantages, or
26                       accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
27                b.     A failure to take such steps as may be necessary to ensure that no
28                       individual with a disability is excluded, denied services, segregated or



                                           COMPLAINT - 4
         Case 2:22-cv-03666 Document 1 Filed 05/27/22 Page 5 of 10 Page ID #:5




 1                      otherwise treated differently than other individuals because of the
 2                      absence of auxiliary aids and services, unless the entity can
 3                      demonstrate that taking such steps would fundamentally alter the
 4                      nature of the good, service, facility, privilege, advantage, or
 5                      accommodation being offered or would result in an undue burden. 42
 6                      U.S.C. § 12182(b)(2)(A)(iii).
 7               c.     A failure to remove architectural barriers, and communication barriers
 8                      that are structural in nature, in existing facilities, and transportation
 9                      barriers in existing vehicles and rail passenger cars used by an
10                      establishment for transporting individuals (not including barriers that
11                      can only be removed through the retrofitting of vehicles or rail
12                      passenger cars by the installation of a hydraulic or other lift), where
13                      such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
14               d.     A failure to make alterations in such a manner that, to the maximum
15                      extent feasible, the altered portions of the facility are readily
16                      accessible to and usable by individuals with disabilities, including
17                      individuals who use wheelchairs or to ensure that, to the maximum
18                      extent feasible, the path of travel to the altered area and the
19                      bathrooms, telephones, and drinking fountains serving the altered
20                      area, are readily accessible to and usable by individuals with
21                      disabilities where such alterations to the path or travel or the
22                      bathrooms, telephones, and drinking fountains serving the altered
23                      area are not disproportionate to the overall alterations in terms of cost
24                      and scope. 42 U.S.C. § 12183(a)(2).
25         21.   At least one accessible route shall connect accessible building, facilities,
26   elements, and spaces that are on the same site. 1991 ADA Standards § 4.3.2. A public
27   accommodation shall maintain in operable working condition those features of facilities
28




                                           COMPLAINT - 5
         Case 2:22-cv-03666 Document 1 Filed 05/27/22 Page 6 of 10 Page ID #:6




 1   and equipment that are required to be readily accessible to and usable by persons with
 2   disabilities by the Act or this part. 28 C.F.R. 35.211(a).
 3         22.      Here, Defendants failed to provide at least one accessible entrance for the
 4   Business as they only had stairs for the entrance other than a ramp that only reaches
 5   halfway to the entrance.
 6         23.      By failing to maintain the facility to be readily accessible and usable by
 7   Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
 8   regulations.
 9         24.      The Business has denied and continues to deny full and equal access to
10   Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
11   discriminated against due to the lack of accessible facilities, and therefore, seeks
12   injunctive relief to alter facilities to make such facilities readily accessible to and usable
13   by individuals with disabilities.
14                                 SECOND CAUSE OF ACTION
15                     VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
16         25.      Plaintiff incorporates by reference each of the allegations in all prior
17   paragraphs in this complaint.
18         26.      California Civil Code § 51 states, “All persons within the jurisdiction of this
19   state are free and equal, and no matter what their sex, race, color, religion, ancestry,
20   national origin, disability, medical condition, genetic information, marital status, sexual
21   orientation, citizenship, primary language, or immigration status are entitled to the full
22   and equal accommodations, advantages, facilities, privileges, or services in all business
23   establishments of every kind whatsoever.”
24         27.      California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
25   or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
26   for each and every offense for the actual damages, and any amount that may be
27   determined by a jury, or a court sitting without a jury, up to a maximum of three times the
28   amount of actual damage but in no case less than four thousand dollars ($4,000) and any



                                             COMPLAINT - 6
         Case 2:22-cv-03666 Document 1 Filed 05/27/22 Page 7 of 10 Page ID #:7




 1   attorney’s fees that may be determined by the court in addition thereto, suffered by any
 2   person denied the rights provided in Section 51, 51.5, or 51.6.
 3         28.    California Civil Code § 51(f) specifies, “a violation of the right of any
 4   individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
 5   shall also constitute a violation of this section.”
 6         29.    The actions and omissions of Defendants alleged herein constitute a denial
 7   of full and equal accommodation, advantages, facilities, privileges, or services by
 8   physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
 9   Defendants have discriminated against Plaintiff in violation of California Civil Code §§
10   51 and 52.
11         30.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
12   difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
13   damages as specified in California Civil Code §55.56(a)-(c).
14                                  THIRD CAUSE OF ACTION
15                VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
16         31.    Plaintiff incorporates by reference each of the allegations in all prior
17   paragraphs in this complaint.
18         32.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
19   entitled to full and equal access, as other members of the general public, to
20   accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
21   and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
22   railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
23   of transportation (whether private, public, franchised, licensed, contracted, or otherwise
24   provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
25   places of public accommodations, amusement, or resort, and other places in which the
26   general public is invited, subject only to the conditions and limitations established by
27   law, or state or federal regulation, and applicable alike to all persons.
28




                                             COMPLAINT - 7
         Case 2:22-cv-03666 Document 1 Filed 05/27/22 Page 8 of 10 Page ID #:8




 1         33.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
 2   corporation who denies or interferes with admittance to or enjoyment of public facilities
 3   as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
 4   individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
 5   the actual damages, and any amount as may be determined by a jury, or a court sitting
 6   without a jury, up to a maximum of three times the amount of actual damages but in no
 7   case less than one thousand dollars ($1,000) and any attorney’s fees that may be
 8   determined by the court in addition thereto, suffered by any person denied the rights
 9   provided in Section 54, 54.1, and 54.2.
10         34.    California Civil Code § 54(d) specifies, “a violation of the right of an
11   individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
12   constitute a violation of this section, and nothing in this section shall be construed to limit
13   the access of any person in violation of that act.
14         35.    The actions and omissions of Defendants alleged herein constitute a denial
15   of full and equal accommodation, advantages, and facilities by physically disabled
16   persons within the meaning of California Civil Code § 54. Defendants have
17   discriminated against Plaintiff in violation of California Civil Code § 54.
18         36.    The violations of the California Disabled Persons Act caused Plaintiff to
19   experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
20   statutory damages as specified in California Civil Code §55.56(a)-(c).
21                                FOURTH CAUSE OF ACTION
22                CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
23         37.    Plaintiff incorporates by reference each of the allegations in all prior
24   paragraphs in this complaint.
25         38.    Plaintiff and other similar physically disabled persons who require the use of
26   a wheelchair are unable to use public facilities on a “full and equal” basis unless each
27   such facility is in compliance with the provisions of California Health & Safety Code §
28




                                            COMPLAINT - 8
         Case 2:22-cv-03666 Document 1 Filed 05/27/22 Page 9 of 10 Page ID #:9




 1   19955 et seq. Plaintiff is a member of the public whose rights are protected by the
 2   provisions of California Health & Safety Code § 19955 et seq.
 3          39.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
 4   that public accommodations or facilities constructed in this state with private funds
 5   adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
 6   Title 1 of the Government Code. The code relating to such public accommodations also
 7   require that “when sanitary facilities are made available for the public, clients, or
 8   employees in these stations, centers, or buildings, they shall be made available for
 9   persons with disabilities.
10          40.    Title II of the ADA holds as a “general rule” that no individual shall be
11   discriminated against on the basis of disability in the full and equal enjoyment of goods
12   (or use), services, facilities, privileges, and accommodations offered by any person who
13   owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
14   Further, each and every violation of the ADA also constitutes a separate and distinct
15   violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
16   award of damages and injunctive relief pursuant to California law, including but not
17   limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
18                                   FIFTH CAUSE OF ACTION
19                                         NEGLIGENCE
20          41.    Plaintiff incorporates by reference each of the allegations in all prior
21   paragraphs in this complaint.
22          42.    Defendants have a general duty and a duty under the ADA, Unruh Civil
23   Rights Act and California Disabled Persons Act to provide safe and accessible facilities
24   to the Plaintiff.
25          43.    Defendants breached their duty of care by violating the provisions of ADA,
26   Unruh Civil Rights Act and California Disabled Persons Act.
27          44.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
28   has suffered damages.



                                            COMPLAINT - 9
        Case 2:22-cv-03666 Document 1 Filed 05/27/22 Page 10 of 10 Page ID #:10




 1                                    PRAYER FOR RELIEF
 2         WHEREFORE, Plaintiff respectfully prays for relief and judgment against
 3   Defendants as follows:
 4         1.     For preliminary and permanent injunction directing Defendants to comply
 5   with the Americans with Disability Act and the Unruh Civil Rights Act;
 6         2.     Award of all appropriate damages, including but not limited to statutory
 7   damages, general damages and treble damages in amounts, according to proof;
 8         3.     Award of all reasonable restitution for Defendants’ unfair competition
 9   practices;
10         4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
11   action;
12         5.     Prejudgment interest pursuant to California Civil Code § 3291; and
13         6.     Such other and further relief as the Court deems just and proper.
14                              DEMAND FOR TRIAL BY JURY
15         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
16   demands a trial by jury on all issues so triable.
17
18   Dated: May 27, 2022                     SO. CAL. EQUAL ACCESS GROUP
19
20
21                                                  By: _/s/ Jason J. Kim___________
                                                    Jason J. Kim, Esq.
22                                                  Attorneys for Plaintiff
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                                           COMPLAINT - 10
